         Case 1:21-cr-00091-RCL Document 126 Filed 04/19/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                           Case No. 21-CR-91-3 (RCL)
        v.

 TAYLOR JAMES JOHNATAKIS,

        Defendant.


  MOTION FOR AMENDED ORDER FOR MENTAL COMPETENCY EVALUATION
       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby respectfully requests that the Court enter the attached amended

proposed order regarding the completion of a mental competency examination for defendant

Taylor James Johnatakis.

       On April 12, 2023, the Court entered a proposed order submitted by the government

regarding the completion of a mental competency evaluation for defendant Johnatakis. Dkt. Entry

125. After entry of the order, the government learned that the deadline of April 28, 2023, for

completion of the evaluation would not be feasible based on the evaluator’s and defense counsel’s

schedule. In addition, the government learned that Dr. O’Neal is a licensed psychologist, not

psychiatrist. Accordingly, the government now moves for entry of an amended order which

requires the evaluation to be completed by May 31, 2023, and which correctly identifies Dr.

O’Neal as a psychologist. The amended order is identical to the original order in all other respects.

       Accordingly, the government requests that the Court enter the attached proposed amended

order for a hearing to determine the mental competency of defendant Johnatakis, pursuant to 18

U.S.C. § 4241(a), and for a psychiatric or psychological examination of the defendant and for a

report to be filed with the Court, pursuant to 18 U.S.C. § 4241(b). The government requests that

defendant Johnatakis be ordered to report for the evaluation with Dr. O’Neal by May 31, 2023,
         Case 1:21-cr-00091-RCL Document 126 Filed 04/19/23 Page 2 of 2




and to comply with the requirements of the examiner as necessary to conduct the examination and

prepare the report pursuant to 18 U.S.C. § 4247(b) and (c).

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                             By:    /s/ Kaitlin Klamann
                                                    KAITLIN KLAMANN
                                                    Assistant United States Attorney
                                                    601 D Street NW
                                                    Washington, D.C. 20530
                                                    IL Bar No. 6316768
                                                    (202) 252-6778
                                                    Kaitlin.klamann@usdoj.gov

                                             By:    /s/ Courtney A. Howard
                                                    COURTNEY A. HOWARD
                                                    Trial Attorney, Criminal Division
                                                    Detailed to the U.S. Attorney’s Office
                                                    601 D Street NW
                                                    Washington, D.C. 20001
                                                    NY Bar No. 4513909
                                                    202-514-3130
                                                    Courtney.Howard2@usdoj.gov
